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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


JACOB CORMAN, in his official
capacity as Majority Leader of the
Pennsylvania Senate, MICHAEL
FOLMER, in his official capacity as
Chairman of the Pennsylvania Senate
State Government Committee, LOU
BARLETTA, RYAN COSTELLO,
MIKE KELLY, TOM MARINO,
SCOTT PERRY, KEITH ROTHFUS,
LLOYD SMUCKER, and GLENN
THOMPSON,
                      Plaintiffs,             Civil Action No. 1:18-cv-00443-CCC
                 v.                           Chief Judge Conner
ROBERT TORRES, in his official
capacity as Acting Secretary of the
Commonwealth, and JONATHAN M.
MARKS, in his official capacity as
Commissioner of the Bureau of
Commissions, Elections, and
Legislation,

                      Defendants,
           and

NATIONAL DEMOCRATIC
REDISTRICTING COMMITTEE,

                      (Proposed)
                      Intervenor-Defendant.


  MEMORANDUM OF LAW IN SUPPORT OF MOTION TO INTERVENE
                    AS DEFENDANT
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                                  INTRODUCTION

      National Democratic Redistricting Committee (“NDRC”) seeks to participate

as an intervening defendant in the above-captioned lawsuit, which is the latest in a

series of attempts by Republican lawmakers to reinstate Pennsylvania’s 2011

congressional districting plan (“the 2011 Plan”). Despite the Pennsylvania Supreme

Court’s ruling that the 2011 Plan is an unconstitutional partisan gerrymander,

Republican lawmakers—who stand to benefit from the continued infringement of

Democratic voters’ constitutional rights—bring this action to invalidate the

Pennsylvania Supreme Court’s remedial congressional districting map (“Remedial

Plan”). See Order, League of Women Voters, et. al. v. Commonwealth of

Pennsylvania, et al., No. 159 MM 2017 (Sup. Ct. PA Jan. 22, 2018) (“LWV Order”);

Per Curiam Opinion and Order Adopting Remedial Plan, No. 159 MM 2017 (Sup.

Ct. PA Feb. 19, 2018) (“Remedial Plan Order”). NDRC is entitled to intervene in

this case, as a matter of right under Federal Rule of Civil Procedure 24(a)(2), to

protect its interest in advancing fair redistricting plans that eliminate unconstitutional

gerrymanders and remedy the dilution of Democratic voting strength. In the

alternative, NDRC requests permissive intervention pursuant to Rule 24(b).




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     A.     STATEMENT OF FACTS, PROCEDURAL HISTORY, AND
                         INTERESTS OF NDRC

      Plaintiffs in this lawsuit seek to enjoin the Pennsylvania Supreme Court’s

February 19, 2018 Order, which adopted a remedial congressional districting map

to be implemented for the 2018 primary and general elections. The Court’s Order

marked the culmination of a legal challenge that began in June 2017, when a group

of Pennsylvania voters filed a lawsuit in Pennsylvania’s Commonwealth Court

challenging the 2011 Plan under the state constitution. See Petition for Review,

League of Women Voters, et. al. v. Commonwealth of Pennsylvania, et al., No. 261

MD 2017 (Commw. Ct. PA June 15, 2017). The voters alleged, inter alia, that the

2011 Plan intentionally burdened their right to vote and discriminated against them

on the basis of their political beliefs in violation of the Free and Equal Elections

Clause of Article I, Section 5 of the Pennsylvania Constitution. See id. Their claims

arose solely under state law. Republican leaders in the Pennsylvania General

Assembly defended the map’s constitutionality.

      On January 22, 2018 (following an appeal of the Commonwealth Court’s

decision to stay the case), the Pennsylvania Supreme Court declared that the 2011

Plan’s partisan dilution of votes “plainly and palpably violates the Constitution of

the Commonwealth of Pennsylvania,” specifically the Free and Equal Elections

Clause, Pa. Const. art. I, § 5. LWV Order at 2. The Court offered the General

Assembly a full eighteen days to submit a plan complying with the requirements of



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the Pennsylvania Constitution to the Governor. After they failed to do so, and with

the intent to avoid disrupting the May 15, 2018 primary election, on February 19,

2018, the Supreme Court of Pennsylvania released its Remedial Plan based on the

materials submitted by the parties and amici, and the criteria necessary to ensure

constitutional compliance. See Remedial Plan Order. Dissatisfied with the Court’s

Remedial Plan, Republican lawmakers, Michael Turzai and Joseph Scarnati, filed an

emergency application two-days ago before the U.S. Supreme Court requesting a

stay of the Pennsylvania Supreme Court’s Order. The following day, another group

of Republican lawmakers, represented by the same counsel as Turzai and Scarnati,

filed this lawsuit seeking to challenge the Pennsylvania Supreme Court’s Remedial

Plan, asserting essentially the same arguments raised in Turzai an Scarnati’s U.S.

Supreme Court filing.

       NDRC, a tax-exempt political organization under section 527 of the Internal

Revenue Code, is focused on redistricting reform. Its mission is to make the

redistricting system fair, and to remedy deliberate and extreme partisan

gerrymandering and the dilution of Democratic votes, such as occurred in

Pennsylvania in 2011. NDRC works to increase voter engagement in the redistricting

process, enact fairer redistricting plans, and challenge unconstitutional redistricting

plans in court. Furthermore, NDRC has a particular and distinct interest in

Pennsylvania’s redistricting process. Pennsylvania is one of twelve states NDRC is




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focusing on as part of its effort to combat the deleterious effects of extreme

Republican partisan gerrymanders after the 2010 elections. As such, NDRC has

expended, and continues to invest, significant time and resources into ensuring

Pennsylvania’s redistricting plan reflects the will of its voters, and protects the rights

of Democratic voters within the state.

      In light of the Pennsylvania Supreme Court’s finding that the Republican-led

General Assembly unlawfully gerrymandered the state’s congressional districts,

NDRC has a significant and cognizable interest in this lawsuit, where Republican

lawmakers seek to invalidate a non-partisan remedial map.

      The Complaint in this matter was filed on February 22, 2018. No hearings

have been scheduled at this time.

                         B.     QUESTIONS PRESENTED

1. Whether NDRC is entitled to intervene as of right under Federal Rule of Civil

   Procedure 24(a)(2).

2. Whether the Court should grant NDRC permissive intervention under Federal

   Rule of Civil Procedure 24(b).

                                 C.     ARGUMENT

      Ensuring fair maps and remedying the unconstitutional dilution of Democratic

voting strength in Pennsylvania is central to NDRC’s core mission. NDRC has a

unique and cognizable interest in this lawsuit because of this mission, and because




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Pennsylvania—one of the most partisan gerrymandered states in the nation and

therefore one of the organization’s twelve target states—conducted elections for

years under a congressional districting map that the Pennsylvania Supreme Court

recently determined was an unconstitutional gerrymander. Plaintiffs’ requested

relief seeks to invalidate the Pennsylvania Supreme Court’s non-partisan, Remedial

Plan and reinstate the unconstitutional 2011 Plan; thus, the resolution of Plaintiffs’

lawsuit will undoubtedly impact NDRC’s ability to protect its interests and advance

its mission in Pennsylvania. As such, NDRC meets the requirements for intervention

as a matter of right under Federal Rule of Civil Procedure 24(a)(2); and, in the

alternative, this Court should exercise its discretion to permit NDRC’s intervention

under Rule 24(b).

       1.     NDRC IS ENTITLED TO INTERVENE AS A MATTER OF
              RIGHT UNDER RULE 24(A)(2).
       NDRC easily meets the test applied in the Third Circuit to motions to

intervene as of right. Specifically, (1) NDRC’s motion is timely; (2) NDRC

possesses an interest in the subject matter of the action; (3) denial of its motion would

impair or impede its ability to protect its interest; and (4) its interest is not adequately

represented by the existing parties to the litigation. Fed. R. Civ. P. 24(a)(2); Harris

v. Pernsley, 820 F.2d 592, 596 (3d Cir. 1987).




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             a.    NDRC’S Motion to Intervene is Timely.

      Having filed its motion to intervene just a day after Plaintiffs initiated this

action, NDRC’s request is unquestionably timely. Indeed, NDRC seeks to intervene

at the earliest possible stage of the lawsuit, when no responsive pleadings or

substantive motions have been filed by the defendant in response to the Complaint;

no further action has been taken on the merits of Plaintiffs’ claims; and NDRC’s

involvement in the case will not impact any scheduling order issued by the Court.

Accordingly, no party can legitimately claim that intervention by NDRC would

cause any prejudicial delay. Under these circumstances, the Court should find the

motion timely. See, e.g., Am. Farm Bureau Fed’n v. EPA, 278 F.R.D. 98, 104 (M.D.

Pa. 2011) (finding intervention motion timely when filed less than three months after

the plaintiffs’ amended complaint and before “any proceeding of substance on the

merits.”).

             b.    NDRC Possesses a Significant, Legally Cognizable Interest
                   in the Substance of this Litigation.
      Consistent with its core mission, NDRC has a significant and cognizable

interest in ensuring fair redistricting plans that will reverse the unconstitutional

dilution of Democratic voting strength in Pennsylvania, and will result in elections

that more accurately reflect the will of Pennsylvania voters. See id. at 107 (holding

that environmental groups with an interest in restoring and preserving Chesapeake




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Bay had a legally protected interest and right to intervene in a lawsuit challenging

EPA regulations affecting the Bay’s usage).

      “To justify intervention as of right, the applicant must have an interest

‘relating to the property or transaction which is the subject of the action’ that is

‘significantly protectable.’” Kleissler v. U.S. Forest Serv., 157 F.3d 964, 969 (3d

Cir. 1998) (quoting Donaldson v. United States, 400 U.S. 517, 531 (1971),

superseded on other grounds by 26 U.S.C. § 7609). Yet applicants “need not possess

an interest in each and every aspect of the litigation” to justify intervention.

Benjamin ex rel. Yock v. Dep’t of Pub. Welfare of Pa., 701 F.3d 938, 951 (3d Cir.

2012). “Instead, ‘[t]hey are entitled to intervene as to specific issues so long as their

interest in those issues is significantly protectable.’” Id. (quoting Mountain Top

Condo. Ass'n v. Dave Stabbert Master Builder, Inc., 72 F.3d 361, 368 (3d Cir.

1995)).

      The Remedial Plan at issue in this lawsuit was adopted by the Pennsylvania

Supreme Court in order to remedy the Republican-led General Assembly’s

unconstitutional partisan gerrymander. See Remedial Plan Order at 2. Specifically,

the Pennsylvania Supreme Court found that the prior 2011 Plan diluted “the power

[of Democrats in Pennsylvania] to vote for congressional representatives who

represent their views,” in violation of their constitutional rights. Opinion, League of

Women Voters, et. al. v. Commonwealth of Pennsylvania, et al., No. 159 MM 2017




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at 128 (Sup. Ct. PA Feb. 17, 2018). And it is clear that this lawsuit was instigated by

Republican lawmakers in a last-ditch effort to preserve the partisan advantages that

flowed from their gerrymandered districts. Thus, Plaintiffs’ attempt to invalidate the

Remedial Plan strikes at the heart of NDRC’s core mission, and its efforts to ensure

a fair districting map for Democrats in Pennsylvania.

             c.     The Disposition of Plaintiffs’ Lawsuit May Impair NDRC’s
                    Ability to Protect Its Interests.
      Similarly, NDRC meets the third factor for intervention as of right, because

the disposition of Plaintiffs’ lawsuit may, as a practical matter, impair or impede

NDRC’s ability to ensure fair maps for the 2018 elections. Fed. R. Civ. P. 24(a)(2).

      When considering this factor, courts “look[] to the ‘practical consequences’

of denying intervention,” recognizing that even if the party seeking to intervene may

vindicate its interests in some later litigation, that is not a sufficient basis to deny

intervention under Rule 24(a)(2). Nat. Res. Def. Council v. Costle, 561 F.2d 904,

909 (D.C. Cir. 1977); see also Mountain Top Condo, 72 F.3d at 368 (“proposed

intervenors must also demonstrate that their interest might become affected or

impaired, as a practical matter, by the disposition of the action in their absence”)

(emphasis in original). Furthermore, a proposed-intervenor may satisfy this factor

by showing that its rights may be affected by a proposed remedy, even if it would

not be barred from bringing a later action in its name. Brody By & Through Sugzdinis

v. Spang, 957 F.2d 1108, 1123 (3d Cir. 1992) (“this factor may be satisfied if, for



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example, . . . the applicants’ rights may be affected by a proposed remedy” but “[a]n

applicant need not, however, prove that he or she would be barred from bringing a

later action or that intervention constitutes the only possible avenue of relief”);

United States v. Alcan Aluminum, Inc., 25 F.3d 1174, 1185 n. 15 (3d Cir. 1994)

(similar).

      Plaintiffs’ seek an injunction barring use of the Remedial Plan in 2018 and

requiring reversion to a map that severely diminishes Democratic voting strength in

violation of the Pennsylvania Constitution. Compl. ¶ 7. There simply would be no

realistic option for NDRC to vindicate its rights in a separate proceeding, following

the resolution of this action, because such action could not be resolved in time for

the 2018 primary or general election. Indeed, the Pennsylvania Supreme Court’s

decision to allow the March 13, 2018 special election for Pennsylvania’s 18th

Congressional District to proceed under the 2011 Plan—despite finding that plan

unconstitutional—further illustrates the insurmountable hurdles that NDRC would

encounter in obtaining relief and protecting its rights even if it were to prevail in a

separate proceeding. See Remedial Plan Order at 3.

      Furthermore, even if NDRC could bring a separate action following the

disposition of this lawsuit, requiring it to do so would be contrary to the public

interest in efficient handling of litigation. Cf. Kleissler, 157 F.3d at 974 (noting that

postponing intervention may foster inefficiency). Both NDRC’s and Defendants’




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defense of the remedial map will likely involve common issues of law and fact; thus,

the letter and spirit of the Rule is best promoted by granting NDRC’s motion for

intervention, so that it may protect its interests in this action and avoid potentially

duplicative litigation.

             d.     NDRC’s Interests are Not Adequately Represented by the
                    Defendants.

      Finally, NDRC’s interests cannot be adequately represented by Defendants

whose stake in this lawsuit is defined solely by their statutory duty to implement the

applicable districting plan. For this factor, NDRC’s burden is “minimal.” See Dev.

Fin. Corp. v. Alpha Hous. & Health Care, Inc., 54 F.3d 156, 162 (3d Cir. 1995).

“Representation will be considered inadequate on any of the following three

grounds: (1) that although the applicant’s interests are similar to those of a party,

they diverge sufficiently that the existing party cannot devote proper attention to the

applicant’s interests; (2) that there is collusion between the representative party and

the opposing party; or (3) that the representative party is not diligently prosecuting

the suit.” Brody By & Through Sugzdinis, 957 F.2d at 1123 (citing Hoots v.

Pennsylvania, 672 F.2d 1133, 1135 (3d Cir. 1982)). Moreover, this requirement is

satisfied if the applicant shows that representation “‘may be’ inadequate”; there is

no requirement that an applicant show it is, in fact, inadequate. Trbovich v. United

Mine Workers of Am., 404 U.S. 528, 538 n.10 (1972) (quoting 3B J. Moore, Federal




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Practice 24.09-1(4) (1969)).

      Defendants are state government officials responsible for “overseeing

elections,” Compl. ¶ 22, but cannot represent NDRC’s interest in ensuring fair maps

for Democratic voters. In the state court proceedings, Defendant Jonathan Marks and

then Secretary of the Commonwealth, Pedro Cortes, made clear that their “role in

congressional redistricting is limited to advertising the verbal descriptions of the

newly created congressional districts in newspapers across the Commonwealth . . .”

and “to administer primary and general elections for the U.S. House of

Representatives in accordance with the Election Code and the redistricting plan

legally in effect at the time.” Answer & New Matter of Sec’y of the Commw. P.

Cortes & Comm’r of Elections J. Marks to Pet. For Review ¶¶ 126-27, League of

Women Voters, et. al. v. Commonwealth of Pennsylvania, et al., No. 261 MD 2017

(Commw. Ct. PA Aug. 10, 2017). In other words, their primary concern is election

administration, whatever the applicable districting plan may be. See, e.g., Answer of

Sec’y of the Commw. P. Cortes & Comm’r of Elections J. Marks in Opp. To Appl.

To Stay, at 2, 5-6, League of Women Voters, et. al. v. Commonwealth of

Pennsylvania, et al., No. 261 MD 2017 (Commw. Ct. PA Aug. 23, 2017). The

fairness of a proposed map, particularly with respect to Democratic voters in

gerrymandered districts, is secondary to their official duties. See Ohio River Valley

Envtl. Coal., Inc. v. Salazar, No. 3:09-0149, 2009 WL 1734420, at *1 (S.D.W.Va.




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June 18, 2009) (granting motion to intervene as of right where defendant and

proposed intervenor had identical goals but the “difference in degree of interest

could motivate the [intervenor] to mount a more vigorous defense” and “[t]he

possibility that this difference . . . could unearth a meritorious argument overlooked

by the current Defendant justifies the potential burden on having an additional party

in litigation”).

       As a result, Defendants’ and NDRC’s interests may diverge in addressing a

number of issues that may arise in this lawsuit, and Defendants may not “be able to

devote proper attention to the [NDRC’s] interests.” Brody By & Through Sugzdinis,

957 F.2d at 1123 (citations omitted); Kleissler, 157 F.3d at 973-74 (noting that

agency defendant represented numerous complex and conflicting interests and

agency’s decision not to appeal adverse ruling may give “legitimate pause to

[proposed-intervenors’] confidence in adequate representation by [the agency].”).

       At bottom, Defendants, in administering elections, represent a variety of

constituents with competing goals. They cannot prioritize the interests of

Democratic voters whose votes were unconstitutionally diluted in the prior

redistricting plan. See Trbovich, 404 U.S. at 539 (holding that proposed intervenor’s

interests are not adequately represented where current defendant is obligated to serve

two distinct interests, which are related, but “may not always dictate precisely the

same approach to the conduct of the litigation.”). NDRC, on the other hand, is




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singularly focused on ensuring fair districting maps, and preventing the

implementation of districting plans that unconstitutionally dilute Democratic voting

strength. Because NDRC’s significant, cognizable interests are not adequately

protected by Defendants in this action, NDRC is entitled to intervention as of right.

      2.     IN THE ALTERNATIVE, NDRC REQUESTS THAT THE
             COURT GRANT IT PERMISSION TO INTERVENE UNDER
             RULE 24(B).

      If the Court does not grant intervention as a matter of right, NDRC

respectfully requests that the Court exercise its discretion to allow it to intervene

under Rule 24(b). The Court has broad discretion to grant a motion for permissive

intervention when the Court determines that: (1) the intervenor’s claim or defense

and the main action have a question of law or fact in common, and that (2) the

intervention will not unduly delay or prejudice the adjudication of the original

parties’ rights. See Fed. R. Civ. P. 24(b)(1)(B); Brody, 957 F.2d at 1115. Courts have

specifically permitted intervention by parties whose interests are affected by the

implementation of a districting plan. See, e.g., League of Women Voters of

Haverford Twp. v. Bd. of Comm’rs. of Haverford Twp., CIV. A. No. 86-0546, 1986

WL 3868 at *2 (E.D. Pa. Mar. 27, 1986) (granting motion for permissive

intervention where it “further[ed plaintiffs’] interest in seeing an effective

redistricting plan”); Graham v. Thornburgh, 207 F. Supp. 2d 1280, 1282 (D. Kan.

2002); Pac for Middle Am. v. State Bd. of Elections, No. 95 C 827, 1995 WL 571893




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(N.D. Ill. Sept. 22, 1995); Bossier Par. Sch. Bd. v. Reno, 157 F.R.D. 133 (D.D.C.

1994).

      NDRC easily meets the requirements for permissive intervention. First,

NDRC and Defendants will inevitably raise common questions of law and fact in

defending this lawsuit and the Remedial Plan. Second, for the reasons set forth

above, the motion is timely, and, given the early stage of this litigation, intervention

will not unduly delay or prejudice the adjudication of the rights of the original

parties. To the contrary, NDRC is prepared to proceed in accordance with any

litigation schedule imposed in this action, and its intervention will only serve to

contribute to the full development of the factual and legal issues before the Court.

                               D.     CONCLUSION
      For the reasons stated above, NDRC respectfully requests that the Court grant

its motion to intervene as a matter of right under Rule 24(a)(2) or, in the alternative,

permit it to intervene under Rule 24(b). If granted permission to intervene under

either provision, NDRC has submitted a proposed Answer in intervention for filing

in accordance with the Federal and Local Rules of Civil Procedure.




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Dated: February 23, 2018    By:      /s/ Kay Kyungsun Yu
                                  Kay Kyungsun Yu Attorney ID No. 83701
                                  Ahmad Zaffarese LLC
                                  One South Broad St, Suite 1810
                                  Philadelphia, PA 19107
                                  Phone: (215) 496-9373
                                  Facsimile: (215) 496-9419
                                  Email: kyu@azlawllc.com

                                  Adam C. Bonin, PA Bar No. 80929
                                  The Law Office of Adam C. Bonin
                                  30 South 15th Street
                                  15th Floor
                                  Philadelphia, PA 19102
                                  Phone: (267) 242-5014
                                  Facsimile: (215) 701-2321
                                  Email: adam@boninlaw.com

                                  Marc Erik Elias (pro hac vice-to be filed)
                                  Bruce V. Spiva (pro hac vice-to be filed)
                                  Uzoma Nkwonta (pro hac vice-to be filed)
                                  Brian Simmonds Marshall (pro hac vice-to be
                                  filed)
                                  Aria C. Branch (pro hac vice-to be filed)
                                  Amanda R. Callais (pro hac vice-to be filed)
                                  Alex G. Tischenko (pro hac vice-to be filed)
                                  Perkins Coie, LLP
                                  700 Thirteenth Street, N.W., Suite 600
                                  Washington, D.C. 20005-3960
                                  Telephone: (202) 654-6200
                                  Facsimile: (202) 654-6211
                                  melias@perkinscoie.com
                                  bspiva@perkinscoie.com
                                  unkwonta@perkinscoie.com
                                  bmarshall@perkinscoie.com
                                  abranch@perkinscoie.com
                                  acallais@perkinscoie.com
                                  atischenko@perkinscoie.com




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                          Caitlin Foley (pro hac vice-to be filed)
                          Perkins Coie, LLP
                          131 S. Dearborn Street, Suite 1700
                          Chicago, IL 60603-5559
                          Telephone: (312) 324-8400
                          Facsimile: (312) 324-9400
                          cfoley@perkinscoie.com

                          Attorneys for Proposed Intervenor-Defendant




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                          CERTIFICATE OF SERVICE

      I certify that on February 23, 2018, I filed the foregoing with the Clerk of the

Court using the ECF System which will send notification of such filing to the

registered participants as identified on the Notice of Electronic Filing.

Date: February 23, 2018



                                                  /s/ Kay Kyungsun Yu




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